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                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
        v                                       )           CR. NO. 2:08CR121-WHA
                                                )           (WO)
JAMES R. RUSSELL                                )

                                            ORDER

        This cause is before the court on the Defendant’s Objections to Magistrates Report and

Recommendations, filed on October 16, 2008 (Doc. #340).

        The facts of this case have been set forth in the Report and Recommendation of the

Magistrate Judge (Doc. #315). On October 3, 2008, the Magistrate Judge held an evidentiary

hearing on the Defendant's Motion and Memorandum to Suppress All Evidence Derived from

the Interception of Telephone Communication In his Motion, Russell challenged the wiretaps

conducted in this case as being unnecessary under 18 U.S.C. § 2518(1)(c).

        The Magistrate Judge concluded that the necessity element of the statute was met, and

recommended that the Defendant's motion to suppress be denied. The Defendant has objected to

the Report and Recommendation, again asserting that the necessity requirement was not met in

this case.

        The court has conducted a de novo review of the record, including the transcript of the

evidentiary hearing. See 28 U.S.C. § 636 (b)(1). Upon de novo review of the entire file, the

court agrees with the factual findings of the Magistrate Judge and agrees that the necessity

requirement was met in this case, ADOPTS the Magistrate Judge’s Report and

Recommendation, and OVERRULES the Objection. Accordingly, it is hereby ORDERED that

Defendant’s Motion to Suppress (Doc. #279) is DENIED.

Done this 20th day of October, 2008.
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                              /s/ W. Harold Albritton
                              W. HAROLD ALBRITTON
                              SENIOR UNITED STATES DISTRICT JUDGE




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